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                        IN THE UNITED STATES DISTRICT COURT
                            FORTHE DISTRICT OF COLUMBIA


UNITE,D STATES OF AME,RICA                                   CRIMINIAL NO.:

       v                                                    VIOLATIONS:

GUSTAVO MAHUAENVELA,                                         18 U.S.C. $ 970(b)
                                                             (Protection of Property Occupied
       Defendant.                                            by Foreign Government)

                                                            f).C. Code $ 22-3302
                                                            (Unlawful Entry)



                                 CRIMINAL INFORMATIOI\


       The [Jnited States Attorney charges that:




                                           Count One

       On or about June 4,2018, in the District of Columbia, the defendant, GUSTAVO

MAHUA ENVELA, knowingly, willfully, and with intent to harass did forcibly thrust papers

and other garbage upon premises located within the United States, which are used for diplomatic

consular and residential purposes by a foreign government, in violation of Title 18, United States

Code, Section 970(b).
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                                              Count Two

       On or about June 4, 2018, in the District of Columbia, the defendant, GUSTAVO

MAHUA ENVELA, did knowingly, voluntarily, and without authority enter private property

against the   will of the lawful occupant, in violation of Title 22, Code of the District of Columbia,

Section 3302.




                                                               JESSIE K. LIIJ
                                                               LINITED STATES ATTORNEY


Dated: July 9,2018                                      by:      ?&unrt
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